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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              :
                                                      :
        v.                                            :   CRIM. NO. 03-cr-234 (JDB)
                                                      :
JAMES EDWARDS,                                        :
                                                      :
                   Defendant.                         :

             GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION FOR
                          COMPASSIONATE RELEASE

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits its opposition to the defendant’s third pro se motion

for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). As in his first and second

motions for compassionate release (Dkts. 79 and 94), the defendant cites the conditions at his BOP

facility and several asserted medical conditions—obesity, prior lung damage, and ongoing vision

problems—as extraordinary and compelling reasons for relief. See Defendant’s Motion, Dkt. 102,

5-7. 1 The Court denied the defendant’s first two motions, finding that he had not established

extraordinary and compelling reasons and that the 18 U.S.C. § 3553(a) factors did not weigh in

favor of his release. See United States v. Edwards, 2021 WL 3128870 (D.D.C. Jul. 22, 2021)

(JDB); United States v. Edwards, 2020 WL 5518322 (D.D.C. Sept. 12, 2020) (JDB). Because

defendant’s present motion is not materially different from his prior ones, nor have the relevant

facts changed in any material way, the Court should summarily deny this motion as well.




1
  “Dkt.” refers to docket entries in the instant case. “Tr.” Refers to the trial transcripts. “Ex.” refers to
exhibits filed with this motion.

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       As the Court previously found, the defendant’s medical conditions do not constitute

extraordinary and compelling reasons for early release based on increased risk of severe illness or

death from COVID-19 because he is fully vaccinated against COVID-19. See Edwards, 2021 WL

3128870, at *3. He received the first dose of the Moderna COVID-19 vaccine on January 14, 2021,

and the second dose on February 8, 2021. See Ex. 4 to Gov’t’s Second Opp’n to Def.’s Mot. for

Compassionate Release, Dkt. 93. He also recently received a booster dose of the same vaccine on

January 26, 2022. See Ex. A, BOP Medical Records, at 85. Additionally, the defendant’s

arguments about his rehabilitation, vocational training, and release plan do not warrant his release

under the factors set forth in 18 U.S.C. § 3553(a). Accordingly, the Court should summarily deny

the defendant’s request for compassionate release.

   A. Facts and Procedural History

       On May 8, 2003, police officers drove to a parking lot on Pomeroy Road in Washington,

D.C. to investigate neighborhood complaints about drug activity there. United States v. Edwards,

424 F.3d 1106, 1107 (D.C. Cir. 2005). The defendant and a friend were sitting in a parked car in

the lot. Id. As the police entered the lot, the defendant attempted to drive away at a high rate of

speed and nearly hit a police car. Id. The police then approached the defendant’s car, saw an open

container of alcohol in it, and ordered him to stop. Id. The defendant instead backed his car and

reached under his seat. Id. The officer once again ordered him to stop. Id. As the officer approached

the car, he saw the defendant pushing two guns under his seat. Id. The police arrested the defendant

and recovered the guns and three vials of PCP from his person. Id.

       On June 3, 2003, the defendant was charged in a three-count indictment with: (1) unlawful

possession of a firearm and ammunition by a person convicted of a crime punishable by

imprisonment for a term exceeding one year, in violation of 18 U.S.C. § 922(g); (2) unlawful

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possession with the intent to distribute phencyclidine (PCP), a controlled substance, in violation

of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C); and (3) unlawful possession of a firearm during a drug-

trafficking offense, in violation of 18 U.S.C. § 924(c). See Indictment, Dkt. 6. On January 22,

2004, the jury returned a partial verdict, finding the defendant guilty of unlawful possession with

the intent to distribute PCP, and not guilty of possessing a firearm during a drug-trafficking

offense. See Edwards, 424 F.3d at 1107; Verdict Form, Dkt. 33. The Court declared a mistrial on

the unlawful-possession-of-a-firearm charge. Edwards, 424 F.3d at 1107. On April 13, 2004, the

Court sentenced the defendant to 79 months of imprisonment to be followed by three years of

supervised release. Id.; 4/13/04 Minute Entry.

       The defendant appealed his conviction and sentence. After his sentencing hearing, the

Supreme Court of the United States issued its decision in United States v. Booker, 543 U.S. 220

(2005) (Federal Sentencing Guidelines are advisory only). On September 30, 2005, the United

States Court of Appeals for the District of Columbia Circuit affirmed the defendant’s conviction

but remanded the case to this Court “for the limited purpose of allowing it to determine whether it

would have imposed a different sentence, materially more favorable to the defendant, had it been

fully aware of the post-Booker sentencing regime.” Edwards, 424 F.3d at 1108 (quoting United

States v. Coles, 403 F.3d 764, 771 (D.C. Cir. 2005) (per curiam)). On April 7, 2006, this Court

issued a Memorandum Opinion finding that it would not have imposed a different sentence under

Booker, noting that “[a]lthough defendant’s drug addiction contributed to his involvement in the

offense, other aggravating circumstances—in particular, defendant’s lengthy criminal history, his

history of noncompliance with parole conditions, his escape from a halfway house, his extensive

drug use, and the seriousness of the offense—weigh heavily against a sentence below the advisory

Guidelines range[.]” United States v. Edwards, 427 F. Supp. 2d 17, 28 (D.D.C. 2006) (JDB), aff’d.

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by United States v. Edwards, 198 Fed Appx. 4, 2006 WL 2828867 (D.C. Cir. 2006) (emphasis

added).

          On or about June 24, 2009, the defendant completed his sentence in this case and began his

period of supervised release. See Ex. 1 to Gov’t’s First Opp’n to Def.’s Mot. for Compassionate

Release, Dkt. 82. Within several months, the defendant violated his supervised release by using

PCP and marijuana. Edwards, 2020 WL 5518322, at *1. On April 28, 2010, the defendant was

arrested and charged in D.C. Superior Court with committing armed robbery and armed burglary

in case number 2010 CF3 007524. Id.; Report and Recommendation, Oct. 26, 2010, Dkt. 74. On

August 24, 2010, the defendant pleaded guilty in that case to armed robbery, burglary while armed,

and assault while armed. Id. On November 15, 2010, D.C. Superior Court Judge Ann O’Regan

Keary sentenced the defendant to an aggregate sentence of 14 years’ incarceration. See Gov’t’s

First Opp’n to Def.’s Mot. for Compassionate Release, Dkt. 82, 4. On March 21, 2011, this Court

revoked the defendant’s supervised release and imposed a sentence of 26 months’ incarceration,

to be served consecutively to the 14-year sentence imposed by the Superior Court. 2 Edwards, 2020

WL 5518322, at *1; Judgment, Mar. 21, 2011, Dkt. 77, 1.

          On August 20, 2020, the defendant filed a pro se motion for compassionate release pursuant

to 18 U.S.C. § 3582(c)(1)(A)(i) (Dkt. 79), which the government opposed on September 7, 2020

(Dkt. 82), and the Court denied on September 12, 2020. Edwards, 2020 WL 5518322 (D.D.C. 2020)

(JDB). In his motion, the defendant sought his immediate release on the grounds that COVID-19

presented an impending threat within FCI Berlin, the prison facility where he was housed, and that

he suffered from lung complications, which made him vulnerable to becoming seriously ill from


2
  The defendant is serving an aggregated sentence for this case and his D.C. Superior Court case. See Ex.
B, Sentence Monitoring Computation Data. The BOP has indicated to the government that the defendant is
currently serving his revocation sentence for this case.

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COVID-19. Dkt. 79. The Court found that the defendant had not carried his burden to demonstrate

that his confinement at FCI Berlin or his lung injuries constituted an extraordinary and compelling

reason for early release. Edwards, 2020 WL 5518322, at *3. The Court also determined that the

defendant’s lengthy criminal history and prison disciplinary record “weigh[ed] against a reduced

sentence.” Id. at *4.

        On June 22, 2021, the defendant filed a second pro se motion for compassionate release,

citing his lung injury, vision loss, and obesity, as well as the COVID-19 pandemic and the rising

rate of infections at FCI Berlin. Dkt. 94, at 2, 4-5. The government opposed the motion, noting

that the defendant had received both doses of the Moderna COVID-19 vaccine and that the 18

U.S.C. § 3553(a) factors militated against release because, in the time period since the Court had

denied his first compassionate-release motion, defendant had received a disciplinary infraction for

possessing a dangerous weapon. Dkt. 93, 1-2. On July 22, 2021, the Court denied the motion

because the defendant was fully vaccinated and had received adequate care for his health

conditions in prison. Edwards, 2021 WL 3128870, at *3-4. The Court further determined that the

defendant “has not given the Court any reason to revisit its prior § 3553(a) analysis and the Court

sees none.” Id. at 4.

        The defendant is currently serving his sentence at FCI Beckley in Beaver, West Virginia.

See BOP, Inmate Locator, https://www.bop.gov/inmateloc/ (last accessed Mar. 14, 2022). 3 He is

projected for release on December 4, 2024, and he is eligible for home detention on June 4, 2024.

See Ex. B, Sentence Monitoring Computation Data, at 1. As of February 15, 2022, he had served

11 years, 9 months, and 19 days of his aggregated sentence from this Court and the D.C. Superior



3
     Information about the current number of COVID-19 cases at FCI Beckley is available at
https://www.bop.gov/coronavirus/.

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Court, representing approximately 73.0% of his full term and approximately 80.8% of his statutory

term. Id.

        On February 11, 2022, the defendant filed the instant third pro se motion for

compassionate release. Dkt. 122. As in his earlier motions, the defendant once again claims that

his medical conditions, including previous lung complications, vision problems, and obesity, as well

as the conditions of his confinement at FCI Beckley, make him vulnerable to becoming seriously ill

from COVID-19. See id., 1-2, 5-7. He now also argues that the 18 U.S.C. § 3553(a) factors support

release because he has received vocational training in prison and plans to reenter the community

by working at a restaurant. Id. 2-4. For the reasons that follow, the government opposes the

defendant’s motion.

   B. The Federal Bureau of Prisons’ Response to the Pandemic

       As the Court is aware, from the outset of the pandemic, the Federal Bureau of Prisons

(BOP) has made extensive changes to its operations, based on a plan that was prepared over many

years, and refined in early 2020 in consultation with the Centers for Disease Control and

Prevention (CDC) and the World Health Organization. Those efforts continue.

       The government recognizes that the COVID-19 case rate at a particular institution may

change at any time. We therefore focus primarily on considerations specific to the defendant. But

BOP’s success at many institutions in limiting the spread of the virus, and in stemming outbreaks

when they occur, provides an important backdrop for the defendant’s motion.

       Under current practices, BOP institutions operate at one of three operational levels (Level

1, Level 2, Level 3). The institutions determine their operational level “based on the facilities’

COVID-19 medical isolation rate, combined percentage of staff and inmate completed

vaccinations    series,   and    their   respective    community      transmission    rates.”   See

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https://www.bop.gov/coronavirus/covid19_modified_operations_guide.jsp.              Medical isolation,

contact tracing and PPE appropriate for each setting are in effect for all three levels. Under Level

1 operations, fewer modifications are necessary; under Level 3 operations, the BOP’s COVID-19

pandemic plan is followed. 4 Many other modifications are in place, regardless of the operation

level. For example, “inmates are tested for SARS-CoV-2 when they are symptomatic,

asymptomatic but exposed, during movements, and when surveillance is needed.” Id. Inmates who

are not fully vaccinated must complete a 14-day quarantine as new intakes or if they have a known

or suspected exposure to COVID-19. Staff and inmates who are not fully vaccinated should be

screened at least weekly when community transmission is substantial or high, and face coverings

are to be worn at all times indoors, regardless of vaccination status. Id.

        BOP’s efforts have been fruitful. Nonetheless, some inmates inevitably will be infected and

some of that cohort may succumb, just as in the population at large. However, the rate of inmate

deaths in federal prisons as a whole has been far lower than that in the general U.S. population, a

notable achievement given the risk of viral spread in a congregate prison setting.

        In addition, acting under the authority granted in the Coronavirus Aid, Relief, and

Economic Security (CARES) Act, Pub. L. 116-136, 134 Stat. 281 (2020), BOP has transferred

many thousands of inmates to home confinement, focusing on nonviolent offenders who have

served the majority of their sentences. This initiative, combined with the reduced number of new

arrivals during the pandemic and the ordinary release of prisoners upon completion of their

sentences, has led to a dramatic decrease in the total BOP population, which in turn has increased

opportunities for social distancing and reduced the strain on BOP resources. The total BOP



4
 The Court can find the overall number of BOP facilities at a particular operational level, as well as the
operational level for a particular BOP institution, here: https://www.bop.gov/coronavirus/index.jsp.

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population, which was approximately 170,000 at the beginning of the pandemic, is now more than

10% lower, at the lowest level in decades. 5

       There is no way to stop the spread of this virus short of widespread vaccination. Thus,

BOP has committed to making the vaccine available to all staff and inmates who choose to receive

it as quickly as possible. BOP is working with the CDC and the federal government’s COVID-19

Vaccine/Therapeutics Operation. By early February 2021, vaccine doses had been delivered to

every BOP institution. BOP offered the vaccine first to full-time staff because staff members—

who come and go between the facility and the community—present a more likely vector for

COVID-19 transmission into an institution. On September 9, 2021, President Biden issued

Executive Orders 14042 and 14043, which require vaccinations of federal contractors and civil-

service employees, respectively. See Exec. Order No. 14043, 86 Fed. Reg. 50,989 (Sept. 14, 2021);

Exec. Order No. 14042, 86 Fed. Reg. 50,985 (Sept. 14, 2021). Hence, based on these Executive

Orders, BOP required that staff be vaccinated, unless they fit within an approved exception. As of

December 8, 2021, the federal government had “achieved 97.2% compliance with 92.5% of

employees     having     received    at   least    one    COVID-19       vaccination     dose.”    See

https://www.whitehouse.gov/omb/briefing-room/2021/12/09/update-on-implementation-of-

covid-%E2%81%A019-vaccination-requirement-for-federal-employees/. 6

       When vaccines became available, BOP has offered them to inmates based on their need in

accordance with CDC guidelines. In general, the vaccine is offered first to inmates over 75 years


5
    Currently, the BOP has over 5,700 inmates on home confinement. The total number of inmates placed
in home confinement from March 26, 2020, to the present (including inmates who have completed service
of their sentence) is over 39,000. See BOP, COVID-19 Home Confinement Information, at
https://www.bop.gov/coronavirus/ (last accessed Mar. 14, 2022).
6
  Injunctions currently are in place regarding both Executive Orders and litigation in these matters is
ongoing.

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of age; then to inmates over 65 years of age; then to inmates of any age who present a condition

identified by the CDC as presenting a risk of severe COVID-19 disease; and then to all inmates.

BOP continues to follow this practice and offers vaccination to all incoming inmates. In addition,

inmates who initially refused vaccination may nonetheless receive vaccination if they change their

minds. To date, BOP has administered approximately 306,000 doses to staff and inmates

nationwide. See BOP, COVID-19: Coronavirus, https://www.bop.gov/coronavirus/ (last visited

Mar. 13, 2022). 7

    C. The Efficacy of Vaccines

        The vaccines approved for use by the Food and Drug Administration (FDA) are effective

in significantly reducing the rate of infection and dramatically reducing the risk of severe

outcomes. In its Emergency Use Authorization memoranda, the FDA stated that the Pfizer-

BioNTech vaccine was 95% effective in preventing COVID-19, including in study participants

with medical comorbidities associated with high risk of severe COVID-19; the Moderna vaccine

was approximately 95% effective in preventing COVID-19, including in study participants with

medical comorbidities associated with high risk of severe COVID-19. The FDA gave final

approval to the Pfizer vaccine in August 2021 and to the Moderna Vaccine in January 2022. See

FDA News Release, “FDA Approves First COVID-19 Vaccine,” https://www.fda.gov/news-

events/press-announcements/fda-approves-first-covid-19-vaccine                (Aug.        23,      2021);

https://www.fda.gov/news-events/press-announcements/coronavirus-covid-19-update-fda-takes-

key-action-approving-second-covid-19-vaccine (Feb. 1, 2022).



7
   Information on BOP’s COVID-19 vaccination efforts, including a listing by facility that is updated daily,
is found here: https://www.bop.gov/coronavirus/. The clinical guidance provided to BOP health service
professionals                         is                          found                                here:
https://www.bop.gov/resources/pdfs/covid_19_vaccine_guidance_v14_0_2021.pdf.

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       Both the Pfizer and Moderna vaccines are effective in preventing COVID-19 among people

of diverse age, sex, race, and ethnicity categories and among people with underlying medical

conditions.          See           https://www.cdc.gov/coronavirus/2019-ncov/vaccines/different-

vaccines/Moderna.html; see also https://www.cdc.gov/coronavirus/2019-ncov/vaccines/different-

vaccines/Pfizer-BioNTech.html. In addition, “[c]ase and death rates for people fully vaccinated

with any of the three vaccine types (Moderna, Pfizer-BioNTech, Johnson & Johnson’s Janssen)

were much lower than for unvaccinated people.” See https://covid.cdc.gov/covid-data-

tracker/#rates-by-vaccine-status. The CDC also reports that “[i]n addition to data from clinical

trials, evidence from real-world vaccine effectiveness studies show that COVID-19 vaccines help

protect against COVID-19 infections, with or without symptoms (asymptomatic infections).

Vaccine effectiveness against hospitalizations has remained relatively high over time, although it

tends to be slightly lower for older adults and for people with weakened immune systems.” See

https://www.cdc.gov/coronavirus/2019-ncov/vaccines/effectiveness/work.html           (last    accessed

Mar. 14, 2022).

       No vaccine is 100% effective. Significantly, however, the available COVID-19 vaccines

are thus far proving remarkably effective not only in limiting infection, but also in fulfilling their

most important purpose: limiting severe disease and death. According to the CDC, “even when

people who are fully vaccinated develop symptoms of COVID-19, they tend to be less severe than

in people who are unvaccinated.” CDC, COVID-19 Vaccines Work (Dec. 23, 2021),

https://www.cdc.gov/coronavirus/2019-ncov/vaccines/effectiveness/work.html.          In      December

2021, unvaccinated persons were 2.2 times more likely to test positive for COVID-19 than

vaccinated persons, and 14 times more likely to die from it. See CDC, Rates of COVID-19 Cases

and Deaths by Vaccination Status, https://covid.cdc.gov/covid-data-tracker/#rates-by-vaccine-

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status (last accessed Mar. 13, 2022). In January 2022, unvaccinated persons were 2.3 times more

likely to test positive for COVID-19 than vaccinated persons. Id. 8 In addition, in December 2021,

unvaccinated persons were 3.2 times more likely to test positive for COVID-19, and 41 times more

likely to die from it than fully vaccinated persons, like the defendant, who have received additional

or booster doses. See CDC, Rates of COVID-19 Cases and Deaths by Vaccination Status,

https://covid.cdc.gov/covid-data-tracker/#rates-by-vaccine-status (last accessed Mar. 13, 2022). 9

Simply put, the vaccines remain “remarkably effective at preventing serious illness. If you’re

vaccinated, your chances of getting severely sick are extremely low.” David Leonhardt, Two

Covid             Americas,            N.Y.           Times           (Jan.          25,         2022),

https://www.nytimes.com/2022/01/25/briefing/covid-behavior-vaccinated-unvaccinated.html.

          Importantly, the vaccines also have proven effective to date against variants. On this point,

the CDC reports:




8
    To date, the CDC has not finished updating this webpage with information for January 2022.
9
 Similarly, A study published on January 21, 2022, indicates that the rate of COVID-19 cases among fully
vaccinated persons with a booster dose was 25 per 100,000 people during October–November 2021.
Amelia G. Johnson et al., COVID-19 Incidence and Death Rates Among Unvaccinated and Fully
Vaccinated Adults with and Without Booster Doses During Periods of Delta and Omicron Variant
Emergence – 25 Jurisdictions, April 4–December 25, 2021, CDC (Jan. 28, 2022),
https://www.cdc.gov/mmwr/volumes/71/wr/mm7104e2.htm. This is substantially lower than among the
nonvaccinated, for whom the rate of COVID-19 cases was 347.8 per 100,000 people. Id. The rate of death
differs by orders of magnitude. Among the fully vaccinated with a booster, it was only 0.1 per 100,000
people, whereas among the unvaccinated, it was 7.8 per 100,000 people. Id.

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       New variants of the virus that causes COVID-19 are spreading in the United States
       and in other parts of the world. COVID-19 vaccines are effective against the Delta
       variant and other variants with widespread circulation in the United States. Current
       vaccines are expected to protect against severe illness, hospitalizations, and deaths
       due to infection with the Omicron variant.

https://www.cdc.gov/coronavirus/2019-ncov/vaccines/effectiveness/work.html.

       Further, although initial studies suggest that the Omicron variant is more transmissible than

previous variants, these studies also indicate that it carries a significantly lower risk of severe

illness or death. See Press Briefing by White House COVID-19 Response Team and Public Health

Officials      (Dec.       29,      2021),       https://www.whitehouse.gov/briefing-room/press-

briefings/2021/12/29/press-briefing-by-white-house-covid-19-response-team-and-public-health-

officials-76 (Statement of Dr. Anthony Fauci summarizing data from South Africa, United

Kingdom, Scotland, and United States, indicating lower rates of death, severe illness, and length

of hospital stay among COVID-19 patients infected by Omicron variant as compared to those

infected by delta variant, and noting that “all indications point to a lesser severity of Omicron

versus Delta”). This is particularly true among vaccinated individuals. See Press Briefing by White

House COVID-19 Response Team and Public Health Officials (Dec. 29, 2021),

https://www.whitehouse.gov/briefing-room/press-briefings/2021/12/29/press-briefing-by-white-

house-covid-19-response-team-and-public-health-officials-76        (Statement    of   Dr.   Rochelle

Walensky reporting continued increased efficacy of vaccines in preventing severe illness or death

from omicron variant). Accordingly, the CDC has concluded that even with increased community

spread of the Omicron variant and the increased likelihood of “breakthrough infections,” “[c]urrent

vaccines are expected to protect against severe illness, hospitalizations, and deaths due to infection

with the Omicron variant.” CDC, Omicron Variant: What You Need to Know (Feb. 4, 2022),

https://www.cdc.gov/coronavirus/2019-ncov/variants/omicron-variant.html. Since hitting a peak

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in late January 2022, COVID-19 cases, including cases stemming from the Omicron variant, have

been in sharp decline. See https://covid.cdc.gov/covid-data-tracker/#trends_dailycases.

                                        I. ARGUMENT

     A. Legal Principles for Compassionate Release Motions

        This matter comes before the Court on defendant’s motion for compassionate release

pursuant to 18 U.S.C. § 3582(c)(1)(A). Before the enactment of the First Step Act in 2018, only

the Bureau of Prisons could seek compassionate release for a defendant. See United States v. Long,

997 F.3d 342, 348 (D.C. Cir. 2021). With the passage of the First Step Act, however, defendants

now may file for compassionate release on their own behalf. See id. As amended by the First Step

Act, § 3582(c)(1)(A) now states in relevant part as follows:

               (A) the court, upon motion of the Director of the Bureau of Prisons,
                   or upon motion of the defendant after the defendant has fully
                   exhausted all administrative rights to appeal a failure of the
                   Bureau of Prisons to bring a motion on the defendant’s behalf
                   or the lapse of 30 days from the receipt of such a request by the
                   warden of the defendant’s facility, whichever is earlier, may
                   reduce the term of imprisonment (and may impose a term of
                   probation or supervised release with or without conditions that
                   does not exceed the unserved portion of the original term of
                   imprisonment), after considering the factors set forth in section
                   3553(a) to the extent that they are applicable, if it finds that –

               (i)     extraordinary and compelling reasons warrant such a
                       reduction; . . .

               and that such a reduction is consistent with applicable policy
               statements issued by the Sentencing Commission . . . .

18 U.S.C. § 3582(c)(1)(A). 10


10
   Under § 3582(c)(1)(A(ii), the Court may grant compassionate release to a defendant who has, among
other things, served at least 30 years pursuant to a sentence imposed under 18 U.S.C. § 3559(c). The
defendant is not serving a sentence under this provision and thus seeks early release under
§ 3582(c)(1)(A)(i).

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       In United States v. Long, 997 F.3d 342, 347 (D.C. Cir. 2021), the D.C. Circuit held that the

policy statement set forth at U.S.S.G. § 1B1.13 “is not applicable to compassionate release motions

filed by defendants.” Accordingly, the Court is not bound by § 1B1.13 in deciding whether this

defendant, who has filed for compassionate release, is entitled to early release under 18 U.S.C.

§ 3582(c)(1)(A). The government notes here that a number of the Circuits that have concluded that

§ 1B1.13 is not binding in connection with motions filed by defendants also have recognized that

the policy statement continues to provide important “guideposts,” United States v. McGee, 992

F.3d 1035, 1045 (10th Cir. 2021); see United States v. Thompson, 984 F.3d 431, 433 (5th Cir. 2021)

(“Although not dispositive, the commentary to the United States Sentencing Guidelines

(“U.S.S.G.”) § 1B1.13 informs our analysis as to what reasons may be sufficiently ‘extraordinary

and compelling’ to merit compassionate release.”); United States v. Gunn, 980 F.3d 1178, 1180

(7th Cir. 2020) (“The substantive aspects of the Sentencing Commission’s analysis in § 1B1.13

and its Application Notes provide a working definition of ‘extraordinary and compelling reasons’;

a judge who strikes off on a different path risks an appellate holding that judicial discretion has

been abused.”); United States v. Aruda, 993 F.3d 797, 802 (9th Cir. 2021); United States v. High,

997 F.3d 181, 186 (4th Cir. 2021) (while the Fourth Circuit holds that “§ 1B1.13 is not applicable

to defendant-filed motions under § 3582(c),” the court recognizes that “it defines, in the medical

context, the same substantive term that applies to BOP-filed motions. One might reasonably

believe therefore that the term ‘extraordinary and compelling reasons’ will be defined the same for

defendant-filed motions.” (emphasis in original)).

       As the movant, the defendant bears the burden to establish that early release is warranted.

See United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016); United States v. Green, 764 F.3d 1352,

1356 (11th Cir. 2014). To do so, the defendant must show (a) that he has exhausted his right to appeal

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the BOP’s failure to seek compassionate release on his behalf or that 30 days have lapsed since he

sought a reduction in sentence from the warden of his BOP facility; (b) the existence of extraordinary

and compelling circumstances sufficient to warrant his early release; and (c) that weighing the

applicable § 3553(a) factors counsel in favor of early release.

   B. The Defendant Has Not Shown that He is Entitled to Compassionate Release

       As it did with defendant’s two prior motions, the Court should summarily deny the

defendant’s current motion for compassionate release. Although the defendant has exhausted

administrative remedies, his medical conditions do not constitute an extraordinary and compelling

reason based on increased risk of severe illness or death from COVID-19. Moreover, even

assuming arguendo that the defendant’s medical conditions would otherwise constitute an

extraordinary and compelling reason for early release based on the risk of COVID-19, the

defendant has been fully vaccinated and received a COVID-19 booster shot, and therefore cannot

establish an extraordinary and compelling reason for release based on the risk of severe illness or

death from COVID-19. Additionally, the § 3553(a) factors strongly weigh against release.

Accordingly, as further explained below, the court should summarily deny the defendant’s motion.

               1.      The Defendant Has Exhausted Administrative Remedies.

       As noted, 18 U.S.C. § 3582(c) provides that a court may not modify a term of imprisonment

once it has been imposed unless it does so “upon motion of the Director of the Bureau of Prisons,

or upon motion of the defendant after the defendant has fully exhausted all administrative rights

to appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf or the lapse

of 30 days from the receipt of such a request by the warden of the defendant’s facility, whichever

is earlier. . . .” § 3582(c)(1)(A). Here, the defendant submitted to the Warden an administrative

request for compassionate release on October 21, 2021. See Ex. C, Reduction in Sentence Request.


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In his administrative request, the defendant requested compassionate release based on his obesity,

lung problems, vision issues, and the conditions of his confinement at FCI Beckley. Id. This is

consistent with his motion to this Court. The Warden denied his request on November 16, 2021.

See Ex. D, Reduction in Sentence Response. Because the defendant submitted a request to the

warden and that request has been considered and denied, or because more than 30 days have passed

since the warden received the defendant’s request, the government concedes that the defendant has

exhausted his administrative remedies. See 18 U.S.C. § 3582(c)(1)(A).

               2.     The Defendant Has Not Shown an Extraordinary and Compelling
                      Reason for Compassionate Release

       As explained above, a court can grant a sentence reduction, after considering the Section

3553(a) factors, only if it determines that “extraordinary and compelling reasons” justify the

reduction. 18 U.S.C. § 3582(c)(1)(A)(i). The defendant requests compassionate release based on

the increased risk of severe illness or death from COVID-19 based on his medical conditions and

his confinement at FCI Beckley. Dkt 102. He has not, however, demonstrated an “extraordinary

and compelling reason” within the meaning of 18 U.S.C. § 3582(c)(1)(A)(i).

       We note at the outset that the mere existence of the COVID-19 pandemic, which poses a

general threat to every non-immune person in the country, cannot alone provide a basis for a

sentence reduction. As the D.C. Circuit recently found, “a pandemic affecting not only the entire

prison population, but the entire world, does not constitute an extraordinary and compelling

reason.” United States v. Jackson, ---F.4th---, 2022 WL 598741, at *6 (D.C. Cir. Mar. 1, 2022). See

also United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020) (“the mere existence of COVID-19 in

society and the possibility that it may spread to a particular prison alone cannot independently

justify compassionate release”). Section 3582(c)(1)(A) contemplates sentence reductions for

specific individuals, not the widespread prophylactic release of inmates and the modification of
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lawfully imposed sentences to deal with a world-wide viral pandemic. That does not mean,

however, that COVID-19 is irrelevant to a court’s analysis of a motion under § 3582(c)(1)(A). If

an inmate is elderly and/or has a chronic medical condition that has been identified as elevating

the inmate’s risk of severe illness or death from COVID-19, that condition may satisfy the standard

of “extraordinary and compelling reasons” even if that condition would not have constituted an

“extraordinary and compelling reason” absent the risk of COVID-19.

        According to guidance from the Centers for Disease Control and Prevention (CDC), adults

of any age with certain conditions can be more likely to get severely ill from COVID-19. The

conditions currently identified by the CDC include obesity. See CDC, Medical Conditions (Feb.

25,   2022),     https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-

medical-conditions.html (last accessed Mar. 14, 2022). 11

        From the outset of the COVID-19 pandemic, the United States has followed CDC guidance

when taking a position on whether a defendant has established extraordinary and compelling

reasons for compassionate release based on increased risk of severe illness or death from COVID-

19. It has agreed that, during the pandemic, an inmate who has not been offered a vaccine, who

presents one of the medical risk factors on the CDC list (as confirmed by medical records), and

who is not expected to recover from that condition presents an extraordinary and compelling

reason for compassionate release, even if his condition would not necessarily suffice to establish

an extraordinary and compelling reason outside the context of the COVID-19 pandemic.




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  The CDC’s guidance notes that its list of risk factors does not include all medical conditions that could
make a person more likely to get severely ill; thus, rare medical conditions are not included.



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        The defendant’s health conditions do not establish an extraordinary and compelling reason

for release. The government recognizes that obesity is among the CDC’s list of underlying medical

conditions associated with a higher risk for severe COVID-19. See CDC, Medical Conditions (Feb.

25,   2022),    https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-

medical-conditions.html (last accessed Mar. 14, 2022). BOP’s medical records show that the

defendant’ BMI was 32.2 as of October 5, 2021. See Ex. A, BOP Medical Records, at 10. The

government’s previous position was that obesity would increase a defendant’s risk of death or

serious illness from COVID-19 such that he could establish an extraordinary and compelling

reason for compassionate release under 18 U.S.C. § 3582(c)(1)(A)(i), provided he had not been

offered a vaccine. However, the D.C. Circuit recently found that obesity is not a COVID-19 risk

factor constituting an extraordinary and compelling reason justifying release. See Jackson, 2022

WL 598741, at *6 (D.C. Cir. Mar. 1., 2022). Moreover, as discussed infra, the defendant cannot

establish an extraordinary and compelling reason based on increased risk of severe illness or death

from COVID-19 because he is fully vaccinated and recently received a booster shot.

        The defendant’s prior lung injury and vision problems also do not provide a basis for relief.

As the Court previously explained, neither of these health issues is recognized by the CDC as an

underlying condition that increases one’s risk of becoming severely ill from COVID-19. Edwards,

2021 WL 3128870, at *3. The Court rejected the defendant’s claim that he was entitled to

compassionate release because of his previous lung injury when denying his first and second

motions for compassionate release. Id. (“For one, Edwards’ lung injury did not justify release even

earlier in the pandemic, so the same condition cannot justify release now.”). The defendant has not

presented any new arguments or evidence regarding his lung injury in the instant motion and

therefore is not entitled to relief now.

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       Likewise, the defendant once again argues that he should be released because of his

keratoconus condition, which has resulted in a loss of his vision. See Defendant’s Motion, Dkt.

102, at 5-6. In denying his second motion for compassionate release, the Court found that the

defendant had already undergone a successful cross-linking procedure for this condition, and it

was unclear whether his request for a cornea replacement was necessary or would be available to

him outside of prison. Edwards, 2021 WL 3128870, at *4. 12

       In sum, the defendant has not established an extraordinary and compelling reason based on

his obesity, prior lung condition, or ongoing vision problems. Moreover, in this case, because the

defendant is fully vaccinated, he cannot establish an extraordinary and compelling reason for early

release despite his medical conditions.

       The defendant received the first dose of the Moderna COVID-19 vaccine on January 14,

2021, and the second dose on February 8, 2021. Ex. A, BOP 2022 Medical Records, at 50; Ex. 4

to Gov’t’s Opp’n to Def.’s Mot. for Compassionate Release, Dkt. 93. He also recently received a

third Moderna COVID-19 dose on January 26, 2022. Ex. A, BOP 2022 Medical Records, at 82.

The defendant’s risk of serious complications from COVID-19 is substantially diminished because

of his vaccination and very recent booster dose. The CDC has repeatedly assured the public that




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   The defendant now also asserts that he cannot see because he has not received the hard contact
lenses he was prescribed at his previous BOP facility. Defendant’s Motion, Dkt. 102, at 5-6.
However, vision loss is not a condition the CDC has identified as placing individuals at greater
risk of severe illness or death from COVID0-19. See CDC, Medical Conditions (Feb. 25, 2022),
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html (last accessed Mar. 14, 2022). In any event, while the defendant’s medical records
confirm that he was supposed to be fit for specialty contact lenses at his previous prison facility,
he did not receive them because he did not complete the mandatory contact lenses training. See
Ex. A, BOP Medical Records, at 8. On January 4, 2022, his physician at FCI Beckley requested
an evaluation and fitting for the specialty contact lenses. Id. at 6. Thus, the issue is being resolved,
and the defendant has not demonstrated that he is receiving inadequate care for his vision issues.
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“COVID-19 vaccines are effective and can lower your risk of getting and spreading the virus that

causes COVID-19. COVID-19 vaccines also help prevent serious illness and death in children and

adults even if they do get COVID-19.” See https://www.cdc.gov/coronavirus/2019-

ncov/vaccines/vaccine-benefits.html (last visited Mar. 14, 2022). Even if the defendant is at

elevated risk due to his medical conditions, he is not likely to suffer exacerbation of these

conditions as a result of COVID-19, because the vaccine will strengthen defendant’s immune

response to the virus, protecting him from getting sick or suffering severe health complications.

       As noted supra in Section 1.C., the available COVID-19 vaccines reduce the risk of

infection, and, more importantly, greatly reduce the risk of suffering severe health complications

from the virus. Thus, as the Seventh Circuit has explained:

       [F]or the many prisoners who seek release based on the special risks created by
       COVID-19 for people living in close quarters, vaccines offer relief far more
       effective than a judicial order. A prisoner who can show that he is unable to receive
       or benefit from a vaccine still may turn to this statute, but, for the vast majority of
       prisoners, the availability of a vaccine makes it impossible to conclude that the risk
       of COVID-19 is an “extraordinary and compelling” reason for immediate release.

United States v. Broadfield, 5 F.4th 801, 803 (7th Cir. 2021) (Easterbrook, J.). The Third and Sixth

Circuits have agreed with this assessment. See United States v. Church, Nos. 21-1840 & 21-2299,

2021 WL 5632062, at *2 (3d Cir. Dec. 1, 2021) (recognizing that “otherwise compelling medical

reasons for release” cannot justify compassionate release when COVID-19 vaccines are available);

United States v. Lemons, 15 F.4th 747, 751 (6th Cir. 2021) (“a defendant’s incarceration during

the COVID-19 pandemic—when the defendant has access to the COVID-19 vaccine—does not

present an ‘extraordinary and compelling reason’ warranting a sentence reduction”). This Court

previously denied relief to the defendant because he was fully vaccinated, noting that “several

courts in this District have recognized that vaccines reduce the risk that inmates with underlying

conditions face from COVID-19.” Edwards, 2021 WL 3128870, *3. Numerous other judges in
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this district likewise “have now recognized that ‘the remarkable effectiveness of these vaccines

raises an extremely high bar to establishing extraordinary and compelling reasons for a sentence

reduction based on the risk of contracting COVID-19.’” United States v. Sumler, 2021 WL

6134594, at *26 (D.D.C. Dec. 28, 2021) (BAH) (quoting United States v. Clark, No. 10-0133

(PLF), 2021 WL 5630795, at *4 (D.D.C. Dec. 1, 2021) (collecting cases)); see also United States

v. Morales, 2021 WL 4622461, at *6 (D.D.C. Oct. 7, 2021) (JDB) (denying relief for a defendant

who received the Johnson & Johnson vaccine because it provided “substantial protection against

COVID—and especially against life-threatening courses of the disease”).

       Moreover, courts across the country have generally found the presence of the COVID-19

Omicron variant to be inadequate to overcome the presumption against finding an extraordinary

and compelling reason for relief when the defendant has been vaccinated. See, e.g., United States

v. Batista, 2022 WL 443647, at *1 (S.D.N.Y. Feb. 14, 2022) (finding that the Omicron variant did

not constitute an extraordinary or compelling circumstance where the defendant was “fully

vaccinated and, as a result, he is unlikely to develop serious illness if infected with the Omicron

variant”); United States v. Jaber, 2022 WL 35434, at *3 (S.D.N.Y. Jan. 4, 2022) (noting that

although “the Omicron variant appears to be more resistant to the vaccines…recent studies have

revealed that…vaccination still provides excellent protection against the most severe

consequences [such as] death and extended hospitalization”); United States v. Allison, 2022 WL

345593, at *2 (S.D. Ill. Feb. 4, 2022) (noting that COVID-19 vaccines protect against severe illness

and death due to infection with the Omicron variant, making it “impossible to conclude that the

risk of COVID-19 is an extraordinary and compelling reason for immediate release”) (internal

quotations and citation omitted); United States v. Butler, 2022 WL 317753, at *4 (E.D. Mich. Feb.

2, 2022) (“[G]iven that COVID-19 vaccines mitigate the potential harm of the Delta and Omicron

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variants, it is not an ‘extraordinary and compelling reason’ to grant compassionate release.”);

United States v. Ngo, 2022 WL 207704, at *3 n.1 (S.D. Cal. Jan. 24, 2022) (“The CDC’s recent

pronouncements regarding the vaccine’s effectiveness in protecting against severe illness and

death apply equally to the Omicron variant, even though the Omicron variant appears to be more

transmissible than earlier COVID-19 strains.”); United States v. Lipsey, 2022 WL 180725, at *2

(D. Ariz. Jan. 20, 2022) (finding that defendant’s health conditions did not amount to extraordinary

and compelling reasons to warrant a reduction in his sentence because COVID-19 vaccines are

effective at preventing serious illness, even against the Omicron variant).

       Finally, the government notes that, in addition to the fact that the defendant himself is

vaccinated, many of the other inmates at his facility are also vaccinated, which further reduces his

risk of contracting the virus. As of this writing, BOP has fully vaccinated (both doses) 252 staff

members and 1,166 inmates at FCI Beckley. See COVID-19 Vaccine Implementation, available at:

https://www.bop.gov/coronavirus/ (last visited Mar. 14, 2022). There are currently 1,551 inmates at

FCI Beckley. See https://www.bop.gov/locations/institutions/bec/ (last visited Mar. 14, 2022).

Therefore, 75.1 percent of the inmates at the defendant’s institution are now fully vaccinated. The

vaccination rate is high; indeed, it is higher than the vaccination rate in most of the country outside

of the BOP. See, e.g., https://www.nytimes.com/interactive/2021/world/covid-vaccinations-

tracker.html (noting that 65% of the country is fully vaccinated) (last visited Mar. 14, 2022).

       In sum, on the current record, the defendant’s medical conditions cannot be properly

characterized as extraordinary and compelling. To the contrary, he has received the most beneficial

treatment currently available to prevent COVID-19 infection, inside or outside of the BOP. The

defendant’s medical conditions are under control and being properly treated in the prison




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environment. The defendant has not established an extraordinary and compelling reason for release

based on the risk of severe illness or death from COVID-19 due to his medical conditions. 13

                 3.       The § 3553(a) Factors Weigh Against Release.

        This Court must also consider the 18 U.S.C. § 3553(a) factors, as “applicable,” as part of

its analysis. See 18 U.S.C. § 3582(c)(1)(A); United States v. Chambliss, 948 F.3d 691, 694 (5th

Cir. 2020). The factors that the Court must consider under § 3553(a) (which sets forth factors the

Court must consider at sentencing) include “the nature and circumstances of the offense,” “the

history and characteristics of the defendant,” and also the need for a sentence “to reflect the

seriousness of the offense, to promote respect for the law, and to provide just punishment for the

offense;” “to afford adequate deterrence to criminal conduct;” “to protect the public from further



13
    The defendant also argues that the conditions of his confinement at FCI Beckley during the COVID-19
pandemic pose significant risks to his health. See Defendant’s Motion, Dkt. 102, at 2, 5-7. This claim is not
properly before the Court. The proper way to raise a claim concerning the constitutionality of BOP’s actions
or the conditions of the defendant’s confinement is to file a civil suit against the defendant’s current jailer
in the district of confinement. See, e.g., United States v. Folse, 2016 WL 3996386, at *15 (D.N.M. June 15,
2016) (“The general rule is that a defendant must file a separate civil action to address his conditions of
confinement.”); United States v. Luong, 2009 WL 2852111, at *1 (E.D. Cal. Sept. 2, 2009) (“As several
courts have recognized, the proper procedure to redress a defendant’s grievances regarding treatment within
a jail or prison is to file a civil suit against the relevant parties…rather than a motion in his criminal case.”);
United States v. Wells, 2007 WWL 3025082, at *2 (W.D. Ky. Oct. 15, 2007) (“[T]o the extent Wells is
challenging his condition of confinement by claiming that his life is in danger, the appropriate course would
be to file a civil action against the alleged wrongdoers, not a Rule 60(b) motion in his criminal action.”).

Where a claim challenging condition of confinement is erroneously filed in a defendant’s criminal case, the
district court should deny the claim. See, e.g., United States v. Banks, 422 F. App’x 137, 138 n.1 (3d Cir.
2011) (per curiam) (“We agree with the District Court that a motion filed in his criminal case was not the
proper vehicle for raising the claims about prison conditions in that motion.”); United States v. Garcia, 470
F.3d 1001, 1003 (10th Cir. 2006) (noting that, because the defendants’ “challenge[s] to the conditions of
confinement…were raised in motions filed in their respective criminal cases…they were properly denied
by the district court”). Indeed, this Court previously denied the defendant’s claim that his continued
confinement violated the Eighth Amendment because “a compassionate release motion…is not the
appropriate mechanism or vehicle to raise such a claim of alleged constitutional violations.” Edwards, 2021
WL 3128870, at *6 (citation omitted). Accordingly, the Court should summarily deny the defendant’s
claims regarding the conditions of his confinement in his instant motion.



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crimes of the defendant;” and “to provide the defendant with needed educational or vocational

training, medical care, and other correctional treatment in the most effective manner.”

       Even where a defendant has established an extraordinary and compelling reason for release,

the Court may reduce his sentence only if the balance of the § 3553(a) factors favor release. See

United States v. Edwards, 2020 WL 5518322 at *4 (D.D.C. Sept. 12, 2020) (“[E]ven if Mr.

Edwards had presented “extraordinary and compelling reasons” for release, the Court may reduce

his term of imprisonment only if the balance of the § 3553(a) factors favor his release.” (emphasis

in original)); see also United States v. Holroyd, 464 F. Supp. 3d 14, 19 (D.D.C. 2020) (“If a

defendant still poses a danger to the community or if the balance of factors under § 3553(a) favor

continued imprisonment, these are independent reasons to deny a motion for compassionate

release.”); United States v. Sears, 2020 WL 3250717 at *2 (D.D.C. June 16, 2020) (denying

compassionate release to inmate with diabetes, hypertension and asthma who had established

extraordinary and compelling reasons because “this Court does not, and cannot, find that a

reduction in [Defendant]’s term of imprisonment is consistent with the § 3553(a) factors at this

time”). As this Court previously has found, consideration of these factors weighs against releasing

the defendant early. And the defendant has not pointed to any new information warranting a grant

of compassionate release.

                   a. The Nature and Circumstances of the Offense

       The nature and circumstances of the defendant’s crimes weigh against any sentence

reduction. In this case, the defendant was in possession of two loaded handguns and a quantity of

PCP consistent with an intent to distribute. When sentencing the defendant, this Court observed

that “possession of phencyclidine with intent to distribute is a serious offense. It is obviously

something that is of concern to the community and to the Court in the criminal justice system.”

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Edwards, 427 F.Supp.2d 178, at 27 (D.D.C. 2006), citing Tr. at 27-29. As noted supra, after

completing his sentence in this case, the Court resentenced the defendant again when he violated

his supervised release by his participation in an armed burglary and robbery. The defendant argues

that he should be released because he only has “non[-]violent violation time [ ] left to serve.”

Defendant’s Motion, Dkt. 102, at 13. However, in denying his second motion for compassionate

release, the Court observed that “[a]lthough a supervised release violation is a non-violent offense,

the conduct that caused the violation—armed robbery and burglary—is serious and warrants

substantial prison time.” Edwards, 2021 WL 3128870, at *4. Thus, as the Court has previously

concluded, the nature and circumstances of the offense weigh against a sentence reduction.

                   b. History and Characteristics of the Defendant

       The defendant’s criminal history further militates against early release. In denying the

defendant’s prior compassionate release motions, the Court considered the defendant’s “lengthy

history of connection with the criminal justice system, including escape from a halfway house and

a prior conviction for possession of a handgun.” Id. (quoting Edwards, 2020 WL 5518322, at *4).

While on supervised release in this case, the defendant was arrested for and pleaded guilty to

charges of armed burglary and armed robbery in D.C. Superior Court. Edwards, 2020 WL

5518322, at *4. Moreover, while in prison, he “committed several serious disciplinary infractions,

including possessing a dangerous weapon in 2018, possessing a hazardous tool in 2013, and

assaulting a staff member in 2013.” Id. (citation omitted). In December 2020, less than two years

ago, the defendant committed another infraction, possessing a dangerous weapon in prison.

Edwards, 2021 WL 3128870, at *4; see also Ex. E, BOP Disciplinary Records (noting that the

defendant admitted to possession of a sharpened metal instrument). In denying his compassionate

release motion less than eight months ago, the Court found that this recent and dangerous

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disciplinary infraction also weighed against the defendant’s release. Edwards, 2021 WL 3128870,

at *4.

         The defendant argues that he has completed “multiple programs that would negate his high

risk of recidivism.” Defendant’s Motion, Dkt. 102, at 2. He now highlights his educational courses

in prison, including classes in computer software, 2500 hours of an apprenticeship, and a

vocational training course where he earned his Forklift Operator Certificate. Id. at 2-3. While his

BOP educational transcript denotes that he has taken computer courses and completed 2500 hours

as a “recreation assistant,” there is no indication that he has earned a Forklift Operator Certificate,

nor has he attached a certificate to his motion. See Ex. F, BOP Education Transcript, at 1. In any

event, as this Court found in denying his prior motions compassionate release, the defendant’s

educational courses “[do] not outweigh the extent of his criminal history and disciplinary record.”

Edwards, 2021 WL 3128870, at *4; see also Edwards, 2020 WL 5518322, at *4 (“Although [the

defendant] has completed some educational courses and demonstrated a willingness for self-

improvement, the extent of his criminal history and prison disciplinary record weigh against a

reduced sentence.”) (internal citation omitted). The defendant’s significant criminal history and

disciplinary infractions still weigh strongly against release or any reduction in his sentence.

                    c. Need for the Sentence Imposed

         The Court must also consider the need for the sentence imposed to reflect the seriousness

of the offense, to promote respect for the law, and to provide just punishment for the offense. 18

U.S.C. § 3553(a). When denying the defendant’s first two compassionate release motions, the

Court determined that his “‘26-month federal sentence is proper’ in light of the underlying

offense.” Edwards, 2021 WL 3128870, at *5 (quoting Edwards, 2020 WL 5518322, at *4). The

Court explained that this sentence “appropriately reflects the seriousness of Edwards’s offense and

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furthers the goals of providing just punishment and affording adequate deterrence.” Id. The Court

further determined that the defendant “would continue to benefit from further correctional

treatment,” particularly “given his continued history of disciplinary infractions.” Id. This reasoning

remains true today, as the defendant has not presented any new evidence warranting a reduction

in his sentence.

                   d. Victim Impact

       Other than general community harm associated with gun possession and drug trafficking,

we could not identify any discernable victims who incurred a financial loss or suffered physical

harm as a result of the defendant’s conduct. See Presentence Investigation Report, at 4. Thus, the

government has not made efforts to contact any victims to ascertain their position on the

defendant’s motion.

                   e. Defendant’s Release Plan

       Finally, the government notes that the defendant has not provided a concrete and detailed

release plan. Without a firm and realistic plan in place, it is more likely that the defendant will be

unable to successfully re-integrate into civil society and that he will place the community at risk.

See United States v. Allison, 2020 WL 3077150, *4 (W.D. Wash. June 10, 2020) (“An appropriate

release plan is essential to ensure that a defendant actually has a safe place to live and access to

health care in these difficult times. Shortening a defendant’s sentence where there is no adequate

release plan offers no benefit to the health of the inmate and in the process likely further endangers

the community into which the defendant is release[d]”).

       As in his prior motion, the defendant states that he will live with his stepmother and that

his brother can drive him from FCI Beckley to his stepmother’s house in Fort Washington,




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Maryland upon release. 14 Defendant’s Motion, Dkt. 102, at 4, 7-8; Dkt. 94, at 8-9. He gives no

indication, however, that his stepmother has agreed to make her home available to him. 15 He

further asserts that he has a “job promise” from a manager of a Chick-fil-A restaurant in Prince

George’s County, Maryland. Id. at 4. While he provides a name and contact information for the

manager, he does not offer any evidence that he has been offered a job. In sum, this Court should

not release the defendant without an appropriate release plan in place, and the vague reference the

defendant makes regarding the availability of his family’s resources to help him upon release and

a “job promise” is insufficient to mitigate the serious risk of his reoffending. See United States v.

Allison, 2020 WL 3077150, *4 (W.D. Wash. June 10, 2020) (“Shortening a defendant’s sentence

where there is no adequate release plan offers no benefit to the health of the inmate and in the

process likely further endangers the community into which the defendant is release[d]”).




14
   The defendant proposes that he will live in Maryland, but he is required to live in Washington, D.C.
upon release or until his supervision his transferred. See 18 U.S.C. § 4104.
15
   The defendant also requests compassionate release so that he can care for his son and his aging
stepmother, as he did in his second motion for compassionate release. Id. The Court previously recognized
the defendant’s desire to “be a positive role model for his son” and care for his stepmother, who has suffered
from various health issues, but found that these were not extraordinary and compelling reasons for release.
Edwards, 2021 WL 3128870, at *1.

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                                        CONCLUSION

       For the reasons above, and based on the entire record, the defendant has not met his burden

to show that he is entitled to early compassionate release. The Court should summarily deny his

motion.

                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052

                                                    MARGARET J. CHRISS
                                                    Assistant United States Attorney
                                                    Chief, Special Proceedings Division
                                                    D.C. Bar No. 452403

                                                    PETER S. SMITH
                                                    Assistant United States Attorney
                                                    Deputy Chief, Special Proceedings Division
                                                    D.C. Bar No. 465131

                                                    /s/ Simran Dhillon
                                                    SIMRAN DHILLON
                                                    Assistant United States Attorney
                                                    Special Proceedings Division
                                                    PA Bar No. 312390
                                                    Washington, D.C. 20530
                                                    202-252-2570
                                                    simran.dhillon@usdoj.gov




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on this 18th day of March, I caused a copy of the foregoing to

be served via the Electronic Case Filing system by mail upon defendant James Edwards, Reg. No.

31043-007, FCI Beckley, P.O. Box 350, Beaver, WV 25813.

                                                  /s/ Simran Dhillon
                                                  SIMRAN DHILLON
